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                    Exhibit A
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 1                          IN THE UNITED STATES DISTRICT COURT
 2                               FOR THE DISTRICT OF ARIZONA
 3
       Keith Raniere,                                     No. 22-cv-00212-RCC-PSOT
 4
                                 Plaintiff,               DECLARATION OF
 5                                                        MICHELLE DIAZ
                 vs.
 6
 7     Merrick Garland, US Attorney General, et
       al.,
 8
                               Defendants.
 9
10          I, Michelle Diaz, pursuant to 28 U.S.C. § 1746, and based upon my personal
11   knowledge and information made known to me from official records reasonably relied
12   upon by me in the course of my employment, hereby make the following declaration
13   relating to the above-titled matter.
14          1.         I have been employed with the Federal Bureau of Prisons (Bureau) at the
15   Federal Correctional Complex, in Tucson, Arizona since December 7, 2008. I currently
16   serve as the Unit Manager for Keith Raniere, Federal Register No. 57005-177.
17          2.         As a supplement to the prior declarations of Correctional Counselor Daniel
18   Flores (Docs. 14-2 and 17-1), below is additional information regarding Mr. Raniere and
19   the Bureau Administrative Remedy Program. All records attached to this declaration are
20   true and accurate copies of Bureau records maintained in the ordinary course of business.
21          3.         The following statements are based on my review of official Bureau files
22   and records, my own personal knowledge, or on information acquired by me through the
23   performance of my official duties.
24          A.         Plaintiff’s Administrative Remedy History
25          4.         On January 21, 2021, Mr. Raniere received a copy of the A&O Handbook.
26   See Att. 1, Intake Screening Form & A&O Program Checklist (Redacted) at 1. On March

27   9, 2021, Plaintiff was briefed on the Bureau’s Administrative Remedy Program as part of

28
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 1   the A&O Program. Id. at 2. I have reviewed the SENTRY information identifying the
     number and types of administrative remedies and appeals filed by Mr. Raniere.
 2
            5.     During Mr. Raniere’s incarceration with the Bureau, he has filed two
 3
     administrative remedy appeals. See Att. 2, SENTRY Administrative Remedy Index at 1-2.
 4
     He has not filed a Request for Administrative Remedy (BP-9) on any subject. Id.
 5
            6.     On February 25, 2022, in Remedy No. 1111640-R1, Mr. Raniere filed a BP-
 6
     10 appeal regarding disciplinary sanctions imposed against him following an October 26,
 7
     2021, disciplinary hearing associated with Incident Report No. 3547878. Id. at 2. See Att.
 8
     3, Remedy No. 1111640 at 1-5. On April 1, 2022, the Regional Director denied Mr.
 9
     Raniere’s appeal. See Att. 2 at 1; Att. 3 at 6-7. On June 7, 2022, Mr. Raniere received the
10
     Regional Director’s response. See Att. 3 at 8.
11
            7.     On June 30, 2022, Mr. Raniere appealed the Regional Director’s denial to the
12
     Office of General Counsel (BP-11). See Att. 2 at 2; Att. 3 at 9. The BP-11 response is due
13
     on August 29, 2022. See Att. 2 at 2.
14
            8.     In the BP-10 and BP-11, Mr. Raniere appealed the sanctions imposed because
15
     he was found to have circumvented mail monitoring procedures by using another inmate to
16
     contact a former NXIVM member who had been removed from his contact list for prior
17
     misconduct. See Att. 3 at 2-5.
18          9.     He has not filed any administrative remedies or appeals regarding lack of
19   access to Suneel Chakravorty, lack of access to legal calls, his social telephone contact list,
20   or his general access to his attorneys.
21          //
22          //
23          //
24          //
25          //
26          //
27          //
28          //


                                                 -2-
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                 Exhibit A
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                 Exhibit A
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  PHXC4         *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL *     07-28-2022
PAGE 001 OF                                                        08:03:00
     FUNCTION: L-P SCOPE: REG   EQ 57005-177     OUTPUT FORMAT: FULL
-------LIMITED TO SUBMISSIONS WHICH MATCH ALL LIMITATIONS KEYED BELOW----------
DT RCV: FROM __________ THRU __________ DT STS: FROM __________ THRU __________
DT STS: FROM ___ TO ___ DAYS BEFORE "OR" FROM ___ TO ___ DAYS AFTER DT RDU
DT TDU: FROM ___ TO ___ DAYS BEFORE "OR" FROM ___ TO ___ DAYS AFTER DT TRT
STS/REAS: ______ ______ ______ ______ ______ ______ ______ ______ ______ ______
SUBJECTS: ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____
EXTENDED: _ REMEDY LEVEL: _ _              RECEIPT: _ _ _ "OR" EXTENSION: _ _ _
RCV OFC : EQ ____        ____       ____       ____       ____       ____
TRACK: DEPT: __________ __________ __________ __________ __________ __________
      PERSON: ___        ___        ___        ___        ___        ___
        TYPE: ___        ___        ___        ___        ___        ___
EVNT FACL: EQ ____       ____       ____       ____       ____       ____
RCV FACL.: EQ ____       ____       ____       ____       ____       ____
RCV UN/LC: EQ __________ __________ __________ __________ __________ __________
RCV QTR..: EQ __________ __________ __________ __________ __________ __________
ORIG FACL: EQ ____       ____       ____       ____       ____       ____
ORG UN/LC: EQ __________ __________ __________ __________ __________ __________
ORIG QTR.: EQ __________ __________ __________ __________ __________ __________




G0002       MORE PAGES TO FOLLOW . . .
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  PHXC4         *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL *     07-28-2022
PAGE 002 OF 002 *             FULL SCREEN FORMAT             *     08:03:00


REGNO: 57005-177 NAME: RANIERE, KEITH
RSP OF...: TCP UNT/LOC/DST: UNIT C               QTR.: Z01-101LAD RCV OFC: WXR
REMEDY ID: 1111640-R1      SUB1: 20DM SUB2:      DATE RCV:   02-25-2022
UNT RCV..:UNIT C         QTR RCV.: C01-108U      FACL RCV: TCP
UNT ORG..:UNIT C         QTR ORG.: C01-108U      FACL ORG: TCP
EVT FACL.: TCP     ACC LEV: WXR 1 BOP 1             RESP DUE: TUE 04-26-2022
ABSTRACT.: DHO HEARING 10-26-21 CODE: 396 / 397
STATUS DT: 04-01-2022 STATUS CODE: CLD STATUS REASON: DNY
INCRPTNO.: 3547878    RCT: P EXT: P DATE ENTD: 02-26-2022
REMARKS..:




REGNO: 57005-177 NAME: RANIERE, KEITH
RSP OF...: TCP UNT/LOC/DST: UNIT C               QTR.: Z01-101LAD RCV OFC: BOP
REMEDY ID: 1111640-A1      SUB1: 20BM SUB2:      DATE RCV:   06-30-2022
UNT RCV..:UNIT C         QTR RCV.: C01-108U      FACL RCV: TCP
UNT ORG..:UNIT C         QTR ORG.: C01-108U      FACL ORG: TCP
EVT FACL.: TCP     ACC LEV: WXR 1 BOP 1             RESP DUE: MON 08-29-2022
ABSTRACT.: DHO HEARING 10-26-21 CODE: 396 / 397
STATUS DT: 07-11-2022 STATUS CODE: ACC STATUS REASON:
INCRPTNO.: 3547878    RCT: N EXT: N DATE ENTD: 07-11-2022
REMARKS..:




                 2 REMEDY SUBMISSION(S) SELECTED
G0000       TRANSACTION SUCCESSFULLY COMPLETED
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                 Exhibit A
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